Case 1:19-cr-00098-CMA Document 26 Filed 03/14/19 USDC Colorado Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 19‐cr‐00098‐CMA

UNITED STATES OF AMERICA,

                Plaintiff,

v.

LEONARD LUTON,

            Defendant.
_____________________________________________________________________________

                MOTION TO REOPEN DETENTION HEARING
____________________________________________________________________________

          Leonard Luton, though his attorney, Assistant Federal Public Defender Laura H.

Suelau, moves this Court to reopen the detention hearing previously held by a

Magistrate Judge Crews, pursuant to 18 U.S.C. § 3142(f)(2)(B). Information not known

to Mr. Luton at the time of his detention hearing exists and that information is material

on the issue of whether there are conditions of release that will reasonably assure his

appearance and the safety of the community.

     I.      Procedural Background

          On January 31, 2019, Leonard Luton was arrested in the District of Colorado on a

criminal complaint. Doc 1. That complaint alleged a single violation of 18 U.S.C. §

1341. Mr. Luton had a detention hearing before Magistrate Judge Crews on February
                                          1
Case 1:19-cr-00098-CMA Document 26 Filed 03/14/19 USDC Colorado Page 2 of 5




13, 2019. In preparation for that hearing, Mr. Luton was interviewed by the probation

department who prepared a report for the Court recommending Mr. Luton be released

on a $25,000 Unsecured Bond without pretrial supervision. However, Mr. Luton

waived his right to a detention hearing because he was on a writ from Larimer County,

in a related case, and was unable to satisfy the substantial monetary bond in that case.

See Doc. 17.

         On March 6, 2019, the government indicted on five counts of 18 U.S.C. § 1341 and

2. The conduct in those counts mirrors the factual basis underlying the Complaint. Doc.

20. Mr. Luton was arraigned on March 7, 2019. Mr. Luton remains in custody.

   II.      Legal Authority

         Under the Bail Reform Act, a defendant may be detained pending trial only if a

judicial officer finds that “no condition or combination of conditions…will reasonably

assure the appearance of such a person as required and the safety of any other person in

and the community.” 18 U.S.C. § 3142(e). A judicial officer can make such a finding

only after a hearing pursuant to § 3142(f) during which that government bears the

burden of proof to show: 1) by clear and convincing evidence that no condition or

combination of conditions will reasonably assure the safety of the community; and 2) by

a preponderance of the evidence that no conditions or combination of conditions will

reasonably assure the defendant’s appearance as required. In evaluating the evidence,

                                             2
Case 1:19-cr-00098-CMA Document 26 Filed 03/14/19 USDC Colorado Page 3 of 5




the judicial officer may only rely on facts that are “supported by clear and convincing

evidence.” Id. at 3141(f)(2)(B). The court can take into account a number of factors as

outlined in 18 U.S.C. § 3142(g): 1) the nature and circumstances of the offense charged;

2) the weight of the evidence against the person; 3) history and characteristics of the

person; and 4) the nature and seriousness of the danger to any person or the

community.

          A detention hearing may be reopened “at any time before trial if the judicial

officer finds that information exists that was not known to the movant at the time of the

hearing and that has a material bearing on the issue of whether there are conditions of

release that will reasonably assure the appearance of such a person as required and the

safety of any other person and the community.” 18 U.S.C. § 3142(f)(2)(B).

   III.      Information not known to Mr. Luton at the detention hearing exists.

          At the time of Mr. Luton’s detention hearing, he was on a Writ from Larimer

County for state charges stemming from the conduct in the instant case. Mr. Luton was

granted bond in that Larimer County case, but was unable to afford the bond amount ‐

$450,000. Therefore, if Judge Crews ordered Mr. Luton’s release, he would have been

returned to the custody of Larimer County where he would not receive credit towards

any future possible federal sentence. On March 14, 2019, the case in Larimer County




                                               3
Case 1:19-cr-00098-CMA Document 26 Filed 03/14/19 USDC Colorado Page 4 of 5




was dismissed. Exhibit 1. As such, Mr. Luton respectfully requests the Court reopen

his detention hearing.

   IV.      Mr. Luton should be released on conditions.

         Mr. Luton has no criminal history, no failures to appear, and no pending charges.

In fact, prior to his January 23, 2019 arrest in Larimer County, 42 year‐old Luton, had

never spent a day incarcerated. Probation’s February 6, 2019 report found Mr. Luton

was not a risk of danger to the community, and that any risk of non‐appearance could

be mitigated by the imposition of conditions. Those conditions, to which Mr. Luton

does not object, include surrender of his passport, and a $25,000 unsecured bond.

   V.       Conclusion

         Mr. Luton respectfully requests this Court reopen his detention hearing.

                                          Respectfully submitted,


                                          VIRGINIA L. GRADY
                                          Federal Public Defender

                                          s/Laura Suelau
                                          LAURA SUELAU
                                          Assistant Federal Public Defender
                                          633 17th Street, Suite 1000
                                          Denver, CO 80202
                                          Telephone: (303) 294‐7002
                                          FAX: (303) 294‐1192
                                          laura.suelau@fd.org
                                          Attorney for Defendant


                                             4
Case 1:19-cr-00098-CMA Document 26 Filed 03/14/19 USDC Colorado Page 5 of 5




                              CERTIFICATE OF SERVICE



        I hereby certify that on March 14, 2019, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing
to the following e‐mail addresses:

       Martha Paluch, Assistant United States Attorney
       martha.paluch@usdoj.gov



and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participant in the manner (mail, hand‐delivery, etc.) indicated by the non‐
participant’s name:

       Leonard Luton
       (U.S. Mail)




                                          s/Laura Suelau
                                          LAURA SUELAU
                                          Assistant Federal Public Defender
                                          633 17th Street, Suite 1000
                                          Denver, CO 80202
                                          Telephone: (303) 294‐7002
                                          FAX: (303) 294‐1192
                                          laura.suelau@fd.org
                                          Attorney for Defendant




                                             5
